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                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION


CYNTHIA FARNSWORTH
AS SPECIAL ADMINISTRATOR
OF THE ESTATE OF
DAN KEITH FARNSWORTH, DECEASED,                                      PLAINTIFF


             vs.            Case No: 5:20-cv-05164-PKH


ELLIOTT ELECTRIC SUPPLY, INC.                                        DEFENDANT



                                     COMPLAINT

      COMES NOW, the plaintiff, Cynthia Farnsworth as Special Administrator of the

Estate of Dan Keith Farnsworth, deceased, by and through her undersigned counsel,

and for her Complaint against Defendant, Elliott Electric Supply, Inc. states as follows:

                                    I. INTRODUCTION


       1. This action arises because of a collision between a commercial delivery

vehicle and a motorcycle, which ended the life of the motorcyclist, occurring in Benton

County Arkansas, on July 1, 2020.

                                      II. PARTIES

      2.   Plaintiff, Cynthia Farnsworth, is a natural person residing in Benton County,

Arkansas and at all relevant times was, and is, a citizen of the state of Arkansas. She is

the duly appointed Special Administrator of the Estate of Dan Keith Farnsworth,

deceased, having been so appointed by the Probate Division of the Circuit Court of


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Benton County, Arkansas, on July 8, 2020, in case number 04PR-20-578, as evidenced by

a copy of the Letters of Administration attached hereto as Exhibit “A” and incorporated

herein by reference.

      3. Defendant, Elliott Electric Supply, Inc. ("Elliott Electric") is a "For Profit"

corporation organized under the laws of the State of Texas with its principal place of

business located in Nacogdoches, Texas. Elliott Electric may be served with legal

process by serving its Arkansas registered agent for service, American Corporation

Services, Inc., 455 West Maurice St., Hot Springs, AR 71901.

      4. At all times relevant hereto Elliott Electric was engaged in business as an

electrical supply company with sales offices located in Arkansas, including the Western

District of Arkansas.

                            III. JURISDICTION and VENUE

      5. This Court has jurisdiction of this action pursuant to 28 USC §1332 (a)(1), as

there is a diversity of citizenship between the parties and the amount in controversy

exceeds the sum of $75,000.00.

      6. Venue is proper in this judicial district pursuant to 28 USC §1391(a) as the

events giving rise to this claim occurred in Benton County, Arkansas.


                                        IV. FACTS

      7. On July 1, 2020, at approximately 2:30 p.m., Dan Farnsworth was riding his

Honda motorcycle north on State Highway 112 (aka Southwest H Street) approaching

the intersect of SW Madison Avenue in Bentonville.



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      8. On that same date, and at that same time, Clayton Harmon, was driving a

Ford F550 flatbed commercial delivery truck owned by Elliott Electric south on State

Highway 112 in order to deliver electrical supplies to a commercial development site

across from the intersection of SW Madison Avenue.

      9. As Clayton Harmon approached the entry to the development on his left, he

slowed the delivery truck to nearly a stop as Dan Farnsworth on his motorcycle, with

the headlight on, was clearly visible and approaching from the opposite direction.

      10. However, Harmon did not stop, but slowly turned and drove the flatbed

truck directly into the path of Dan Farnsworth's motorcycle.

      11. The Elliott Supply delivery truck's dash camera recorder captured the event

as it occurred as evidenced by screen shots thereof attached here to as Exhibits B

through C, incorporated herein by reference and reproduced below:




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       12. Dan Farnsworth was unable to stop his motorcycle before colliding with the

rear of the flatbed truck and suffering fatal injuries.



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       13. At all times Dan Farnsworth was operating his motorcycle in safe,

reasonable, and lawful manner, within the posted speed limit.


                              V. LIABILITY OF DEFENDANT

                              COUNT ONE - Vicarious liability

       14. Plaintiff incorporates herein by reference the allegations of the previous

paragraphs of this Complaint as if each were fully set forth herein in their entirety.

       15. At all times relevant hereto, Clayton Harmon, was under the control of or

acting as agent/servant/employee or statutory employee, of Elliott Electric Supply, Inc.

and in the course and scope of said agency or employment, while in furtherance of the

financial interests and subject to the direction and control of Elliott Electric Supply, Inc.

       16. Elliott Electric Supply, Inc. is liable under the doctrine of respondeat superior

and the rules of agency for the tortious acts and omissions of Clayton Harmon.

       17. Clayton Harmon had a duty to operate the company's vehicle in a safe and

prudent manner. This included a duty to keep a proper lookout, pay attention, and

yield to oncoming traffic when making a left turn, in accordance with the conditions of

the roadway and all traffic laws and regulations.

       18. Clayton Harmon breached the foregoing duties and, as a direct and

proximate result of his negligent acts and omissions, Dan Farnsworth suffered serious

injuries and lost his life.

       19. Elliott Electric Supply, Inc. is liable to Plaintiff for all damages, harms, and

losses, caused by the negligence and recklessness of Clayton Harmon.



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                             COUNT TWO - Direct Negligence

       20. Plaintiff incorporates herein by reference the allegations of the previous

paragraphs of this Complaint as if each were fully set forth herein in their entirety.

       21. Upon information and belief, as an employer, Elliott Electric Supply, Inc., is

independently negligent in hiring, qualifying, training, entrusting, supervising and/or

retaining, Clayton Harmon in connection with his operation of a delivery vehicle and

for otherwise failing to act as a reasonable and prudent employer would under the

same or similar circumstances.

       22. As an employer Elliott Electric Supply, Inc. had certain duties and

responsibilities to properly qualify, train, and supervise Clayton Harmon, the duty to

otherwise establish and implement necessary management controls and systems for the

safe operation of its motor vehicles.

       23. Upon information and belief, Elliott Electric Supply, Inc., was independently

negligent in failing to meet its duties and responsibilities.

       24. As a result of the foregoing breaches of duties, Dan Farnsworth suffered

severe injuries and lost his life.

                            COUNT THREE- Punitive Damages

       25. Plaintiff incorporates herein by reference the allegations of the previous

paragraphs of this Complaint as if each were fully set forth herein in their entirety.

       26. Defendant and Clayton Harmon knew or ought to have known, in light of

the surrounding circumstances, that the conduct set forth above would naturally and




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probably result in injury and damage and yet continued such conduct in reckless

disregard of the circumstances from which malice may be inferred.

       27. Punitive damages should be imposed to punish Defendant and to deter

others from similar reckless conduct.


                                         DAMAGES


        28. As a direct and proximate result of the conduct of Defendant, Dan Farnsworth

suffered severe injuries and lost his life. Defendants are liable to his estate for the

conscious pain and suffering he endured prior to his death; medical bills attributable to

his fatal injury; the value of his lost life; and, funeral expenses.

       29. Defendant is liable to the statutory beneficiaries of Dan Farnsworth, for any

pecuniary injury sustained, his wife's loss of consortium, and for mental anguish suffered

and reasonably probable to be suffered in the future.


       WHEREFORE, Cynthia Farnsworth as Special Administrator of the Estate of Dan

Keith Farnsworth, deceased, requests a jury trial and prays that this Court enter

judgment over and against Defendant, Elliott Electric Supply, Inc., for actual,

compensatory, consequential and punitive damages, attorney fees, costs, interest and

any other such relief this honorable Court deems just and proper.




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                          Respectfully submitted,
                          Cynthia Farnsworth, Special Administrator of the
                          Estate of Dan Keith Farnsworth, deceased, Plaintiff


                          By: /s/ Bruce L. Mulkey
                          Bruce L. Mulkey, AR bar No. 91026
                          MULKEY LAW FIRM
                          1401 S.E. Walton Blvd., Suite 107
                          Bentonville, AR 72712
                          Phone: (479) 268-3196
                          Facsimile: (479) 222-1688
                          bruce@mulkeylaw.com

                          and

                          Brian G. Brooks, AR Bar No. 94209
                          Brian G. Brooks, Attorney at Law, PLLC
                          P.O. Box 605
                          Greenbrier, Arkansas 72058
                          (501) 733-3457
                          bgbrooks1@me.com


                           Plaintiff’s counsel




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